Case 8:25-cr-O0006-LKG Document36 Filed 02/10/25 Pagelof1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

SOUTHERN DIVISION
UNITED STATES OF AMERICA, *
*
Vv. . CRIMINAL NO. LKG-25-6

*

THOMAS C. GOLDSTEIN, *
*

Defendant 7

SRK

ENTRY OF APPEARANCE IN A CRIMINAL CASE

TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:

Please enter my appearance as counsel for the defendant, Thomas C. Goldstein, for the
limited purpose of preliminary proceedings related to conditions of release and retention of
counsel.

I certify that I am admitted to practice in this Court.

Respectfully submitted,

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CJA __ Retained Public Defender _ Pro Bono
